                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )        No. 3:11-00012-36
                                            )        Judge Sharp
DEONTE GRAHAM                               )

                                            ORDER

       For the reasons stated by Magistrate Judge Knowles, and for the reasons stated by the Court

at the conclusion of the hearing on July 25, 2014, Defendant’s Motion for Review of Detention

Order (Docket No. 2262) is hereby DENIED.

       The Court finds the Government has carried its burden of showing that no conditions or

combination of conditions that will ensure the safety of the public and the community, or the

appearance of Defendant, were he released pre-trial. Accordingly, Defendant Graham shall

REMAIN DETAINED pending trial.

       It is SO ORDERED.


                                                     ____________________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




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